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 7
                                 UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
 9
      JULIA RENIGER, GREG                        Case No. 4:14-cv-03612-CW
10    BATTAGLIA, LUCIA SAITTA and
      ANN MANCUSO, Individually and On           Hon. Claudia Wilken
11    Behalf of All Others Similarly Situated,
12                                               NOTICE OF MOTION AND MOTION FOR
                      Plaintiffs,                FINAL APPROVAL OF CLASS ACTION
13                                               SETTLEMENT; MEMORANDUM OF
                          v.                     POINTS AND AUTHORITIES IN SUPPORT
14                                               THEREOF
15    HYUNDAI MOTOR AMERICA, a
      California corporation, and HYUNDAI        DATE: March 21, 2017
16    MOTOR COMPANY, a foreign                   TIME: 2:30 p.m.
      corporation,                               PLACE: Oakland Courthouse, Courtroom 2
17
18                   Defendants.

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                                NOTICE OF MOTION AND MOTION
 1
 2            PLEASE TAKE NOTICE that on March 21, 2017 at 2:30 p.m., or as soon thereafter as

 3   the matter may be heard, in Courtroom 2 of the United States District Court for the Northern
 4
     District of California, located at 1301 Clay Street, Oakland, California, before the Honorable
 5
     Claudia Wilken, plaintiffs Julia Reniger, Greg Battaglia, Lucia Saitta and Ann Mancuso
 6
 7   (“Plaintiffs”) will, and hereby do, move the Court for entry of an order granting final approval

 8   to the proposed class settlement of this action, which was preliminarily approved on August 8,
 9   2016.
10
              Plaintiffs bring this motion pursuant to Fed. R. Civ. P. 23(e) on the grounds that the
11
     proposed settlement is fair, adequate, and reasonable. This Motion is based upon this Notice of
12
13   Motion and Motion, the accompanying Memorandum of Points and Authorities, Declaration of

14   Class Counsel Mark S. Greenstone, the Declarations of Plaintiffs, the Declaration of Claims
15   Administrator Sandy Zielomski, the Declaration of Defendants’ Counsel Eric Y. Kizirian, the
16
     [Proposed] Order, all pleadings and other documents on file in this action, and such other
17
     matters as may be presented at or in connection with the hearing.
18
19
     DATED: January 12, 2017                      GLANCY PRONGAY & MURRAY LLP
20
21                                                By: s/ Mark S. Greenstone
22                                                Lionel Z. Glancy
                                                  Marc L. Godino
23                                                Mark S. Greenstone
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28

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                            MEMORANDUM OF POINTS AND AUTHORITIES
 1
 2   I.      INTRODUCTION

 3           The proposed Settlement Agreement1 provides current and former owners and lessees of
 4
     the 77,331 Cass Vehicles encompassed by this action something rarely achieved through
 5
     settlement: a comprehensive remedy. The basis of this action is a defect that causes random
 6
 7   stalling (“Stalling Defect”). At about the time that Plaintiffs filed their initial Complaint,

 8   Defendants extended a limited service campaign to a portion of the Class. After eight months
 9   of litigation and multiple amended complaints challenging the adequacy of that campaign,
10
     Defendants expanded the fix to all Class Vehicles through a new consolidated service campaign
11
     (“Campaign 929A”) that Defendants contend has effectively resolved the issue, as evidenced by
12
13   post-Campaign 929A warranty claims data.          Under the proposed Settlement Agreement,

14   Defendants agree to keep Campaign 929A open free of charge for ten years without a mileage
15   restriction. Defendants also agree to reimburse class members for out-of-pocket costs incurred
16
     prior to the dissemination of Class Notice as a result of the Stalling Defect. This relief—in and
17
     of itself—would be fair, adequate and reasonable.        In addition, the proposed Settlement
18
19   Agreement provides those Class Members who have experienced the Defect with a special

20   rebate on the purchase or lease of a new vehicle, notwithstanding relief they are to otherwise
21
     receive.   The proposed Settlement Agreement is the product of in-depth investigation,
22
     aggressive litigation and protracted arms-length negotiations between experienced counsel
23
     before a respected mediator. It provides Class Members with outstanding relief and should be
24
25   finally approved.

26
27   1
      The “Settlement Agreement” refers to the Settlement Agreement filed as Dkt. No. 73-1. All
28   capitalized terms herein shall have the definitions given to them in the Settlement Agreement
     unless otherwise stated.
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     II.      PROCEDURAL AND FACTUAL BACKGROUND
 1
 2            A.     Plaintiffs’ Initial Complaint and the Initial 929 Service Campaign

 3            Plaintiffs Julia Reniger and Greg Battaglia filed the initial Complaint on August 8, 2014
 4
     alleging causes of action for violations of California’s Consumers Legal Remedies Act, Cal.
 5
     Civ. Code §§ 1750, et seq. (“CLRA”), California’s Unfair Competition Law, Cal. Bus. & Prof.
 6
 7   Code §§ 17200, et seq. (“UCL”), and for breach of implied warranty pursuant to the Song-

 8   Beverly Consumer Warranty Act, Cal. Civ. Code §§ 1792 and 1791.1, et seq. (“Song Beverly”)
 9   and derivatively pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 (“Mag-
10
     Moss”). Dkt. 1, ¶¶61-109.
11
              Defendants filed a motion to dismiss (“MTD”) on October 6, 2014 arguing vociferously
12
13   that Plaintiffs’ claims were moot in light of a voluntary service campaign (the “929 Campaign”)

14   launched just before the initial Complaint was filed, and which Defendants contended fully
15   resolved the Stalling Defect. Dkt. 13. The 929 Campaign offered an engine control module
16
     (“ECM”) upgrade limited to approximately 44,281 of the 77,331 putative Class Vehicles that
17
     had a particular brand of alternator as original equipment. Declaration of Mark S. Greenstone
18
19   (“Greenstone Decl.”), ¶3. Defendants stated in their MTD introduction:

20                   This case proves that no good deed goes unpunished. On the first
                     day in August 2014, Hyundai Motor America (“HMA”) notified its
21
                     customers of a service campaign for certain 2010 through 2012
22                   model year Santa Fe vehicles after learning that, in certain low
                     speed operating conditions, some Santa Fe vehicles may
23                   experience a momentary reduction in engine power that in rare
                     cases may also cause engine stalling. The campaign notice offers
24
                     all owners and lessees of the affected vehicles a simple fix—a free
25                   software update for the vehicles’ Engine Control Module (“ECM”)
                     available through dealerships. Once the ECM is updated, any
26                   stalling concerns become a distant memory.
27
28

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     MTD at 8.2 Defendant’s elaborated on this argument in a section of their MTD titled “All Of
 1
 2   Plaintiff’s Claims Are Mooted By HMA’s Voluntary Repair Remedy” stating:

 3                    This Court also lacks jurisdiction to decide plaintiffs’ claims
                      because they are moot. HMA’s service campaign is being
 4
                      conducted under the auspices of NHTSA and the National Traffic
 5                    and Motor Vehicle Safety Act, 49 U.S.C. § 30101 et. seq. (“Safety
                      Act”). HMA sent a formal letter notifying NHTSA of the service
 6                    campaign, as required by the Safety Act regulation 49 C.F.R.
 7                    §579.5…Should NHTSA decide that HMA’s actions are
                      inappropriate, it could order further action and ensure full
 8                    compliance with NHTSA mandates through fines. (49 U.S.C. §
                      30165(a) or orders (49 U.S.C. § 30118(e).) Through this suit,
 9                    plaintiffs are injecting themselves into this statutory oversight
10                    process that NHTSA is currently overseeing.

11   MTD at 13-14. However, having spent hundreds of hours investigating the Stalling Defect,
12   Plaintiffs believed that a full and complete remedy to all affected Class Members had not been
13
     provided and that it was necessary for Plaintiffs to “inject” themselves into the process.
14
              B.      Plaintiff’s Amended Complaints Challenging the Adequacy of the Initial 929
15                    Service Campaign
16
              In response to Defendants’ MTD, Plaintiffs filed a First Amended Complaint on October
17
     27, 2014 (Dkt. 17) and a Second Amended Complaint (“SAC”) on November 24, 2014 (Dkt.
18
19   21). Plaintiffs’ SAC added Lucia Saitta and Ann Mancuso as plaintiffs; alleged supplemental

20   facts concerning the inadequacy of the 929 Campaign; asserted additional claims for violation
21   of the New York Deceptive Practice Act (N.Y. Gen. Bus. L. § 349, et seq.), violation of the
22
     New York False Advertising Law (N.Y. Gen. Bus. L. §§ 350, et seq.), breach of implied
23
     warranty pursuant to the New York Uniform Commercial Code (N.Y. U.C.C. §§ 2-314), and
24
25   common law fraud; and alleged a New York Sub-Class. SAC, ¶¶ 1, 149-65; 174-81. Plaintiffs’

26
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         Citations to ECF filings are to the ECF system pagination.
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     SAC was based upon an extensive investigation of counsel that included, inter alia, interviews
 1
 2   of hundreds of putative Class Members. Greenstone Decl., ¶4.

 3           In particular, Plaintiffs went to great lengths in the SAC to document the shortcomings
 4
     of the initial 929 Campaign, included nine pages of detailed allegations concerning the initial
 5
     929 Campaign. SAC at ¶¶12-29. Plaintiffs’ SAC included specific examples of post-929
 6
 7   Campaign stalling complaints and alleged that “Defendants’ Service Campaign is limited to an

 8   undisclosed subset of Class Vehicles and, on information and belief, has not been made
 9   available to thousands of class members.” Id. at ¶12. As proof of the fact that the initial 929
10
     Campaign was underinclusive, Plaintiffs included printouts of the results when the VINs for
11
     Plaintiffs Battaglia and Mancuso that were input into the “VIN Validation” field on the website
12
13   set up to administer the initial 929 Campaign, which provided “Your vehicle is NOT affected”

14   (emphasis in original). Id. at ¶¶51, 69 and Exhs. K & P. Plaintiffs’ SAC also criticized
15   Defendants for not offering to reimburse vehicle owners for repairs and diagnosis or the cost of
16
     transporting their stalled out vehicles to dealerships. Id. at ¶18. In the prayer for relief,
17
     Plaintiffs SAC specifically demanded, inter alia, that Defendants notify all Class Members of
18
19   the Stalling Defect, provide them all with a viable fix that addresses the Defect, and establish a

20   reimbursement program for out-of-pocket costs incurred as a result of the Defect. Id. at ¶196(d)
21
     & (e). On January 26, 2016, Defendants filed a second motion to dismiss (Dkt. 33) and motion
22
     to strike (Dkt. 31).
23
             C.      Defendants’ Initiation of Campaign 929A
24
25           Eight months after the filing of Plaintiffs’ initial Complaint, in April 2015, Defendants

26   initiated Campaign 929A which extended the 929 Campaign ECM upgrade to the remaining
27
     33,050 vehicles in the putative 77,331 vehicle class not covered under the original 929
28

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     Campaign.3 Greenstone Decl., ¶5. Campaign 929A also added additional software updates that
 1
 2   provided for a software-based cleaning of the electronic throttle control (“ETC”). Analysis of

 3   Hyundai’s warranty claims database performed by Gregory Webster, Hyundai’s Senior Group
 4
     Manager, Design and Engineering Analysis, revealed that prior to the Campaign 929A there
 5
     was an average of 70 stalling complaints per month; since the Campaign 929A was launched
 6
 7   (April 2015), the complaint rate nationwide was just 0.9 complaints per month. Id., ¶5 and Exh.

 8   A. Thus, Hyundai contends that the Campaign 929A eliminates any ongoing stalling concerns.
 9          D.     The Court’s Order on Defendants’ Motion to Dismiss and Motion to Strike
10
            On August 18, 2015, the Court issued its Order Granting in Part and Denying in Part
11
     Defendants’ Motion to Dismiss and Denying Motion to Strike in which it upheld all of
12
13   Plaintiffs’ claims with the exception of Plaintiffs’ California and New York False Advertising

14   Law (“FAL”) claims, as well as Plaintiffs’ New York implied warranty claim and derivative
15   Mag-Moss claim. Dkt. 53. On September 1, 2015 Plaintiffs filed a Third Amended Complaint
16
     (“TAC”) dropping the FAL claims and re-alleging the New York implied warranty claim and
17
     the derivative Mag-Moss claim. Dkt. 54. Defendants filed answers to the TAC on September
18
19   15, 2015. Dkt. 55 & 56.

20          E.     Negotiation of the Proposed Settlement Agreement
21
            Shortly thereafter, at the end of September 2015, the parties agreed to mediate and
22
23
     3
       It is Defendants’ contention that the extension of the 929 Campaign ECM update was
24
     contemplated earlier. Specifically, in December 2014, Hyundai Motor America (“HMA”)
25   prepared a service bulletin bearing the title Service Campaign TV5. Defendants contend this
     was intended to make the 929 Campaign ECM update available to the remaining 33,050
26   vehicles in the putative 77,331 vehicle class, but that before a consumer notice was sent on
27   TV5, HMA decided to merge it with the 929 Campaign into a single campaign that was
     formally launched with consumer notice in April 2015 as Campaign 929A. Regardless, the
28   benefits were extended to Class Members only after Plaintiff attacked the adequacy of the
     initial 929 Campaign, which Defendants had contended fully resolved the issue.
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     informed the Court of their intentions at the September 25, 2015 Case Management
 1
 2   Conference.      Greenstone Decl., ¶6.   The parties selected retired Chief Magistrate Judge

 3   Edward A. Infante as their mediator. Prior to the mediation, the parties agreed to an exchange
 4
     of information (in addition to that exchanged through formal discovery) to help inform the
 5
     parties at mediation. Id. The parties drafted detailed mediation statements which provided
 6
 7   Judge Infante with a comprehensive understanding of the factual and legal issues.            On

 8   December 15, 2015, the parties attended a full-day mediation before Judge Infante in San
 9   Francisco. Id.
10
            Although the parties were unable to reach a resolution at the December 15, 2015
11
     mediation session, they continued to engage in settlement negotiations with the assistance of
12
13   Judge Infante. Greenstone Decl., ¶6. On or about February 3, 2016, the parties executed a

14   Memorandum of Understanding (“MOU”) which outlined all material terms of the proposed
15   Settlement Agreement. After the material terms of the proposed Settlement Agreement were
16
     agreed to in the MOU, the parties separately negotiated Class Counsel’s entitlement to
17
     attorneys’ fees and costs, and Plaintiffs’ service awards. Id. The parties filed a Stipulation
18
19   with Proposed Order to Vacate Case Management Conference in Light of Settlement in

20   Principle on March 29, 2016 (Dkt. 67), which the Court granted on April 4, 2016 (Dkt. 68).
21
            Plaintiffs drafted a motion for preliminary approval of the proposed Settlement
22
     Agreement and the parties worked collaboratively on drafting a Class Notice, Claim Form and
23
     other relevant documentation. The Court heard Plaintiffs’ preliminary approval motion on
24
25   August 2, 2016, and on August 8, 2016, issued its Order Preliminarily Approving Class

26   Action Settlement; Provisionally Certifying A Settlement Class For Settlement Purposes,
27
     Appointing Class Counsel, Directing The Issuance Of Notice To The Class, And Scheduling
28

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     A Fairness Hearing (“Preliminary Approval Order”). Dkt. 82.
 1
 2          F.     Terms of the Proposed Settlement Agreement

 3                 1.      10 Year Campaign 929A Guarantee
 4
            Under the proposed Settlement Agreement, Defendants agree that Campaign 929A
 5
     Software Update (or its functional equivalent) will remain available free-of-charge for 10 years
 6
 7   after the date the Class Vehicles were first put into circulation as “new” vehicles. Settlement

 8   Agreement, ¶ III.D. As noted above, analysis of Hyundai’s warranty claims database revealed
 9   that prior to Campaign 929A there was an average of 70 stall complaints per month; since
10
     Campaign 929A was launched (April 2015), the complaint rate nationwide was just 0.9
11
     complaints per month. Greenstone Decl., ¶5 Exh. A. The proposed Settlement Agreement thus
12
13   makes judicially enforceable the Campaign 929A benefit, ensuring its availability for those who

14   have not yet had the Campaign performed, and for those who need the update reinstalled.4
15                 2.      Reimbursement Program for Out-of-Pocket Expenses
16
            Defendants also agree to fully reimburse, on a claims-made basis, all out-of-pocket costs
17
     incurred at any authorized Hyundai dealer 5 for any diagnosis or repair associated with the
18
19   Stalling Defect. Significantly, there is no cap on the amount that may be claimed for these

20   costs. In addition, Defendants agree to reimburse third-party towing and car rental costs of up
21
     to $250. Settlement Agreement, ¶ III.A.
22
            Class Members eligible to make a Claim are those who experienced a stall associated
23
24
25
     4
       As with any computer update, incorrect or incomplete installation of the 929A software
26   update may require that it be reinstalled.
     5
27     Because the Class Vehicles are model year 2010 through 2012 vehicles with warranties
     ranging from five to ten years depending on the component, the vast majority would have
28   been taken to authorized Hyundai dealers for repairs and diagnosis during the relevant time
     period.
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     with the “929A Condition” up to the mailing date of the Class Notice.6 Settlement Agreement,
 1
 2   ¶ III.A. A claims-friendly reimbursement program requires only that Class Members provide

 3   minimal documentary proof, such as repair orders or invoices, which can generally be obtained
 4
     from Hyundai dealers if no longer in a Class Member’s possession. Id., Exh. A (Claim Form).
 5
     Claims may be submitted through March 29, 2017, providing Class Members with ample time
 6
 7   to gather the relevant paperwork. Preliminary Approval Order (Dkt. 82) at ¶15(e).

 8                 3.      New Vehicle Incentive Program
 9          Notwithstanding the availability of the Campaign 929A remedy and reimbursement for
10
     out-of-pocket expenses, the proposed Settlement Agreement also provides a special cash
11
     incentive for replacement vehicles. Class Members who have experienced one documented
12
13   929A Condition stall, are eligible for a rebate of $250 to $1,000 on a new Hyundai vehicle,

14   depending upon the specific new vehicle purchased or leased.7 Settlement Agreement, ¶ III.B.
15   This amount is doubled to $500 to $2,000 (again, depending upon the vehicle) for those who
16
     have experienced at least two 929A Condition stalls, with at least one occurring after the Class
17
     Vehicle received the Campaign 929A software update. Id., ¶ III.C. Rebate certificates can be
18
19
20   6
       “929A Condition” is a documented stall in a Class Vehicle that does not generate a
     diagnostic trouble code (“DTC”). Specifically, some vehicle stalls generate a code that is
21
     stored in the vehicle’s on-board computer system and that dealers often note in the repair
22   order. A 929A Condition stall is a stall that does not generate such a code. If a repair order
     does not identify a particular code or cause for the stall, it will be considered a 929A
23   Condition stall. This definition is consistent with Class Members’ real-world experiences of
     the Stalling Defect as an unexplained random occurrence.
24
     7
25     Rebate Certificate values are as follows: Tier 1 ($250) – Hyundai Accent; Tier 2 ($400) -
     Hyundai Elantra, Elantra GT, Veloster, Sonata (non-hybrid); Tier 3 ($600) - Hyundai Tucson,
26   Santa Fe, Sonata Hybrid/Plug-in Hybrid, Genesis Coupe (or its functional equivalent at the
27   time of purchase); Tier 4 ($750) - Hyundai Azera, Genesis Sedan (or its functional equivalent
     at the time of purchase); Tier 5 ($1,000) - Equus (or its functional equivalent at the time of
28   purchase). Agreement, ¶ III.B.

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     claimed through a simple claim process with minimal documentary proof requirements, and
 1
 2   redeemed by simply sending proof of a new Hyundai vehicle purchase or lease within one year

 3   of the Rebate Certificate’s issuance. Agreement, ¶¶ III.B, C.
 4
            G.      Dissemination of Notice and Implementation of the Proposed Settlement
 5                  Agreement

 6          Following entry of the Preliminary Approval Order, the parties worked diligently to
 7
     implement its terms and carry through with the proposed Settlement Agreement. On June 29-
 8
     30, 2016 Defendants sent notice of the Proposed Settlement to the appropriate federal official,
 9
     and the appropriate state official in all fifty states pursuant to the Class Action Fairness Act
10
11   (“CAFA”), 28 U.S.C. § 1715. Declaration of Eric Y. Kizirian (“Kiz. Decl.”), ¶2.               On

12   November 21, 2016 Defendants caused 113,236 Class Notices to be mailed to the last known
13
     addresses of all current and former owners and lessees of the Class Vehicles from state DMV
14
     registration databases.8 Decl. of Sandy Zielomski (“Zielomski Decl.”) ¶¶ 4-5.9 Concurrently,
15
16   Defendants set up a toll free telephone line for Class Member inquiries, and a dedicated

17   website viewable at santafesettlement.hyundaiusa.com on which Class Members may submit
18   claims and view information pertinent to the litigation. Id., ¶¶ 2-3. Following the mailing of
19
     the Class Notice, Defendants and Plaintiffs have both worked to respond to Class Member
20
     inquiries. Id., ¶ 2; Greenstone Decl., ¶14. As of the close of business on January 8, 2017
21
22   there had been a total of 850 visits to the case website, 107 settlement-related inquiries fielded

23   8
       Under the proposed Settlement Agreement, Defendant Hyundai Motor America, with
     assistance as appropriate, is to act as Claims Administrator. Settlement Agreement, ¶V.A.
24
     The claims process, of course, is very similar to the service campaign and recall process with
25   which Defendants have significant experience as car manufacturers. Further, any denied
     claims are to be forwarded to the parties’ respective counsel who agree to engage in good
26   faith efforts to resolve the disputed claim. Id. at ¶V.D.
     9
27     As of January 8, 2017, 2,527 Class Notices had been returned undeliverable with no
     forwarding address. These records are being reviewed against Defendants’ customer records
28   for a more current address and, where applicable, will be re-mailed to the updated addresses.
     Zielomski Decl., ¶ 6.
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     at the toll-free telephone line, and 303 pieces of correspondence received at the PO Box
 1
 2   established for the settlement. Zielomski Decl., ¶¶ 2-3, 7. In addition, to date Plaintiffs’

 3   Counsel has fielded 50 class member inquiries regarding the settlement. Greenstone Decl.,
 4
     ¶14.
 5
     III.    FINAL APPROVAL OF THE SETTLEMENT IS APPROPRIATE
 6
 7           A.     The Standard for Final Approval

 8           The law favors the compromise and settlement of class action lawsuits. See Churchill
 9   Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 576 (9th Cir. 2004); Class Plaintiffs v. City of Seattle,
10
     955 F.2d 1268, 1276 (9th Cir. 1992). Indeed, “there is an overriding public interest in settling
11
     and quieting litigation” and this is “particularly true in class action suits.” Van Bronkhorst v.
12
13   Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976). The decision to approve or reject a settlement

14   is committed to the sound discretion of the trial court because it “is exposed to the litigants and
15   their strategies, positions and proof.” Lane v. Facebook, Inc., 696 F.3d 811, 818 (9th. 2012)
16
     (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)). In exercising such
17
     discretion, the trial court should give “proper deference to the private consensual decision of the
18
19   Parties.” Hanlon, 150 F.3d at 1027.

20           In determining whether a class action settlement is fair, adequate, and reasonable,
21
     district courts in the Ninth Circuit balance the following factors:
22
                    (1) the strength of the plaintiff’s case; (2) the risk, expense,
23                  complexity, and likely duration of further litigation; (3) the risk of
                    maintaining class action status throughout the trial; (4) the amount
24
                    offered in settlement; (5) the extent of discovery completed and the
25                  stage of the proceedings; (6) the experience and views of counsel;
                    (7) the presence of a governmental participant; and (8) the reaction
26                  of the class members to the proposed settlement.
27
     Churchill Vill., 361 F.3d at 575.       This list is not exclusive, and different factors may
28

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     predominate in different factual contexts. Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370,
 1
 2   1375-76 (9th Cir. 1993). However, in reviewing what is “otherwise a private consensual

 3   agreement negotiated between the parties to a lawsuit,” the district court’s scrutiny should be
 4
     “limited to the extent necessary to reach a reasoned judgment that the agreement is not the
 5
     product of fraud or overreaching by, or collusion between, the negotiating parties and that the
 6
 7   settlement, taken as a whole, is fair, reasonable and adequate to all concerned.” Officers for

 8   Justice v. Civil Service Comm’n, 668 F.3d 615, 625 (9th Cir. 1982).
 9           B.     This Non-Collusive Settlement is Entitled to a Presumption of Fairness
10
             “The assistance of an experienced mediator in the settlement process confirms that the
11
     settlement is non-collusive.” Satchell v. Fed. Express Corp., 2007 WL 1114010, at *4 (N.D.
12
13   Cal. April 13, 2007).    A non-collusive settlement, negotiated with the involvement of a

14   respected mediator, is entitled to “a presumption of fairness.” In re Toys “R” Us-Del., Inc.
15   FACTA Litig., 295 F.R.D. 438, 450 (C.D. Cal. 2014). The proposed Settlement Agreement here
16
     is the product of arms’-length negotiations conducted over several months with oversight and
17
     assistance of the Honorable Edward A. Infante, a retired Chief Magistrate Judge for this
18
19   District. Judge Infante is widely respected by Courts throughout the Ninth Circuit and has been

20   recognized as a key factor in helping to craft fair, adequate and reasonable class settlements on
21
     multiple occasions.14 Moreover, the parties negotiated Class Counsel’s entitlement to attorneys’
22
23
     14
        See, e.g., Wren v. RGIS Inventory Specialists, 2011 WL 1230826, at *14 (N.D. Cal. Apr. 1,
24
     2011), supplemented, 2011 WL 1838562 (N.D. Cal. May 13, 2011) (noting that settlement
25   reached with an experienced mediator, Hon. Edward A. Infante (Ret.) was a result of arms-
     length negotiations); Dubeau v. Sterling Sav. Bank, 2013 WL 4591034, at *2 (D. Or. Aug. 28,
26   2013) (finding that counsel, with Judge Infante's help as mediator, negotiated an arms-length
27   settlement agreement that is fair, reasonable, and adequate); Rinky Dink, Inc. v. World Bus.
     Lenders, LLC, 2016 WL 4052588, at *5 (W.D. Wash. Feb. 3, 2016) (the parties worked with a
28   trusted mediator, retired U.S. Magistrate Judge Edward Infante, weighing in favor of
     preliminary approval); Manouchehri v. Styles for Less, Inc., 2016 WL 3387473, at *5 (S.D.
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     fees and Plaintiffs’ service awards separately, after an MOU was signed memorializing the
 1
 2   material terms of the proposed Settlement Agreement. Greenstone Decl., ¶6. Based on these

 3   factors, the Settlement is entitled to a presumption of fairness. See In re Toys “R” Us FACTA
 4
     Litig., 295 F.R.D. at 450 (finding a presumption of fairness where the settlement was reached
 5
     following a mediation and the fees and settlement relief were separately negotiated).
 6
 7          C.      The Settlement is Fair, Adequate and Reasonable

 8          In evaluating the proposed Settlement Agreement, the Court must balance the factors set
 9   forth in Churchill Village, 361 F.3d at 575. As shown below, consideration of the relevant
10
     Churchill factors supports final approval of the Settlement Agreement in this case.
11
                    1.      The Benefits of the Settlement Favor Final Approval
12
13          “The very essence of a settlement is compromise, ‘a yielding of absolutes and an

14   abandoning of highest hopes.’” Officers for Justice, 688 F.2d at 624 (citations omitted). The
15   Ninth Circuit has explained, in light of the vagaries of litigation, “the proposed settlement is not
16
     to be judged against a hypothetical or speculative measure of what might have been achieved by
17
     the negotiators.” Id. at 625. In this case however, even if it were, it would stand out as an
18
19   exceptional achievement.

20          When Plaintiffs initially filed this case, a limited remedy (the initial 929 Campaign ECM
21
     update) had been extended to approximately half of the Class Members. After eight months of
22
     Cal. June 20, 2016) (based on Judge Infante’s participation the negotiations between the parties
23
     were made at arm's length); Bui v. Sprint Corp., 2016 WL 727163, at *2 (E.D. Cal. Feb. 24,
24   2016) (noting that the parties attended mediation with an experienced and well-respected
     mediator, the Honorable Edward A. Infante (Ret.), and with Judge Infante's assistance the
25   parties were able to reach an agreement on the terms of a settlement); Manner v. Gucci Am.,
26   Inc., 2016 WL 1045961, at *7 (S.D. Cal. Mar. 16, 2016)(finding that the proposed settlement
     was the result of “serious, informed, and non-collusive arm's-length negotiations” and
27   mediation efforts overseen by retired United States Magistrate Judge Edward Infante, who
     conducted a full-day mediation session).
28

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     hard-fought litigation, Campaign 929A extended the 929 Campaign ECM upgrade to all Class
 1
 2   Vehicles, and in addition extended a computer stimulated cleaning of the ETC to all Class

 3   Vehicles. Defendants contend that the 929A Campaign has effectively resolved the Stalling
 4
     Defect, as evidenced by post-Campaign 929A warranty claims data. Greenstone Decl., ¶5 and
 5
     Exh. A.
 6
 7            Through the proposed Settlement Agreement, Defendants have agreed to keep the

 8   Campaign 929A software update available to Class Members for 10 years from the date that the
 9   Class Vehicles were first placed into circulation as “new” vehicles, without any mileage
10
     restriction. Settlement Agreement, ¶ III.D. The Settlement Agreement thus makes judicially
11
     enforceable an important benefit that Defendants could otherwise withdraw or charge for at any
12
13   time in the absence of the Agreement. In addition, Defendants have agreed to reimburse out-of-

14   pocket costs incurred by Class Members for repairs or diagnoses associated with the Stalling
15   Defect—without a cap—and to reimburse towing and rental car expenses up to $250. Id., ¶
16
     III.A.
17
              The above achievements represent a substantial victory. Plaintiffs’ SAC requested that
18
19   Defendants notify all Class Members of the Stalling Defect, offer a viable repair free of charge

20   and reimburse out-of-pocket expenses. SAC (Dkt. 21) at ¶ 196(d) & (e). This is exactly what
21
     the litigation and Settlement Agreement have achieved. As an additional benefit, the Settlement
22
     Agreement provides those Class Members who have experienced the Stalling Defect and who
23
     wish to replace their Class Vehicles notwithstanding this relief, a special rebate incentive.
24
25   Settlement Agreement, ¶ III.B & C.

26            In and of itself, by ensuring the availability of the Campaign 929A software update to all
27
     Class Members without common limitations like eligibility based on mileage or requiring Class
28

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     Members to prove that a problem has already manifested, this Settlement is superior to the
 1
 2   common, but far less valuable, remedy of an extended warranty program offered in automotive

 3   settlements approved by many District Courts in this Circuit. See, e.g., Eisen v. Porsche Cars
 4
     North American, Inc., 2014 WL 439006, at *1-2, 11 (C.D. Cal. Jan. 30, 2014) (approving
 5
     settlement that did not provide a free repair program for the alleged engine defect, but instead
 6
 7   extended the mileage/years of coverage on the warranty for that defect, along with a

 8   reimbursement program with limitations); Sadowska v. Volkswagen Group of America, No.
 9   2:11-cv-00665-BROAGR, Dkt. No. 127 (C.D. Cal. Sep. 25, 2013) (same, but for alleged
10
     transmission defect); Collado v. Toyota Motor Sales, U.S.A., Inc., 2011 U.S. Dist. LEXIS
11
     133572 (C.D. Cal. Oct. 17, 2011), fee order rev’d, 550 Fed. Appx. 368 (9th Cir. Cal. 2013)
12
13   (approving settlement extending warranty coverage for defective headlights along with a limited

14   reimbursement program for out-of-pocket expenses for repairs).
15          Moreover, the reimbursement component of this Settlement, which provides for
16
     reimbursement for the cost of Hyundai dealer repairs or diagnoses paid by Class Members prior
17
     to the mailing date of Class Notice, does not contain other time or mileage restrictions like other
18
19   judicially approved settlements have contained. See, e.g., Parkinson v. Hyundai Motor Am., 796

20   F. Supp. 2d 1160, 1164 (C.D. Cal. 2010) (approving settlement for defective flywheel
21
     transmissions reached where class members received cash reimbursement of 50-100% of repair
22
     expenses, depending on actual mileage for vehicles up to 10 years old or with 100,000 miles);
23
     Aarons v. BMW of N. Am. LLC, 2014 U.S. Dist. LEXIS 118442, at *8–10 (C.D. Cal. Apr. 29,
24
25   2014) (approving a diminishing payout structure for a reimbursement program on transmission

26   repairs that end for vehicles with 150,000 miles or 8 years on the road); Browne v. Am. Honda
27
     Motor Co.,      2010 U.S. Dist. LEXIS 145475 (C.D. Cal. July 29, 2010) (approving
28

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     reimbursement program that limits costs to brake pads purchased within 3-years of the purchase
 1
 2   or lease of the vehicle).

 3            The Settlement benefits are also superior to other automotive settlements approved in
 4
     other District Courts in other Circuits. See, e.g., Falk/Zwicker v. General Motors Corporation,
 5
     Case No. C07-0291-JCC (W.D. Wash. 2008), Docket No. 125-1 (settlement agreement) §§ C.1
 6
 7   & C.2 (providing 7-year/70,000-mile warranty for replacement/reimbursement of speedometer

 8   for     owners   of   2003-2004    and   certain   2005   GMT800      platform   vehicles,   and
 9   replacement/reimbursement for cost of speedometer part only, excluding labor costs, for owners
10
     of 2003-2004 vehicles who repaired problem between 70,000-80,000 miles); Alin v. American
11
     Honda Motor Co., Inc., Case No. 08-4825-KSH-PS (D.N.J. 2011), Docket No. 54-3 (settlement
12
13   agreement) §§ 4.2 & 4.3 (providing reimbursement of 15%-100% of out-of-pocket expenses,

14   based on time and mileage thresholds between 3 years/36,000 miles and 8 years/96,000 miles,
15   for allegedly defective air conditioning condenser or compressor); Henderson v. Volvo Cars of
16
     North America, Case No. 09- 4146-CCC-JAD (D.N.J. 2012), Docket No. 71-1 (settlement
17
     agreement) § III.A (providing 8-year/100,000-mile extended warranty and reimbursement of
18
19   either 50% for original owners and lessees, or 25% for all other class members, for out-of-

20   pocket costs for allegedly defective automatic transmissions). The judicially approved
21
     settlements in these cases included both warranty extensions and reimbursements, but did not
22
     include a free repair remedy such as the 929A Campaign remedy here.
23
              As set forth above, these benefits are more comprehensive than the benefits provided in
24
25   other settlements of automotive class actions that have been found to be fair, adequate and

26
27
28

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     reasonable16. Here, “the class is receiving nearly as much as could reasonably be expected after
 1
 2   a successful verdict at trial because they are recovering all or substantial portion of the cost of

 3   repairing the [automotive defect].” Eisen, 2014 WL 439006, at *11 (finding the Settlement
 4
     “fair, adequate and reasonable” on this and other bases). Here, Class Members will obtain
 5
     similar benefits by settlement, but without the risk of “protracted litigation, requiring retention
 6
 7   of experts and significant expenses.” Id.

 8           Accordingly, the proposed Settlement Agreement should be approved.
 9                  2.      The Strength of Plaintiffs’ Case Compared to the Risk, Expense,
10                          Complexity and Likely Duration of Further Litigation Favor Final
                            Approval
11
             As the Ninth Circuit has instructed, in assessing the probability and likelihood of
12
13   success, “the district court’s determination is nothing more than an amalgam of delicate

14   balancing, gross approximations, and rough justice.” Officers for Justice, 688 F.2d at 625. There
15   is “no single formula” to be applied, but the court may presume the parties’ counsel and the
16
     mediator arrived at a reasonable range of settlement by considering plaintiff’s likelihood of
17
     recovery. Rodriguez v. West Pub. Corp., 463 F.3d 948, 965 (9th Cir. 2009).
18
19           An objective evaluation confirms the relief offered for the Class here is well within the

20   range of reasonableness, particularly when compared to the likely outcome of prosecuting the
21   action. Plaintiffs face significant risks that are part and parcel of continued litigation, including
22
     increased costs and the passage of a substantial amount of time. Rodriguez v. West Pub. Corp.,
23
     463 F.3d at 966. A class action against a major automotive manufacturer, where Plaintiffs
24
     16
25      That the Settlement will confer immediate monetary and equitable relief to Class Members
     is a strong factor in approving the proposed Settlement. Browne v. Am. Honda, 2010 U.S.
26   Dist. LEXIS 145475, at *42–43 (finding that, despite the fact that class members may not be
27   fully compensated by the proposed reimbursement program, immediate relief conferred by
     settlement supports final approval); see also, In re Mego Financial Corp. Sec. Litig., 213 F.3d
28   454, 459 (9th Cir. 2000) (approving a settlement that provides immediate relief constituting
     one-sixth of the potential recovery in light of the difficulties of continued litigation).
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     allege tens of thousands of vehicles suffer a serious defect, has the strong potential to engulf
 1
 2   plaintiffs and attorneys in protracted, resource-draining court battles. Plaintiffs would likely

 3   need to supply multiple experts’ testimony and analyses, including an expert on engine design
 4
     and engineering, an expert on consumer expectations, and a damages expert. These hefty costs
 5
     would have to be advanced by Plaintiffs and Class Counsel, and add significantly to the risks of
 6
 7   proceeding in litigation. See Aarons v. BMW, 2014 U.S. Dist. LEXIS 118442, at *29–31

 8   (approving a settlement for repairs/reimbursement of transmission defect and observing that “it
 9   is the very uncertainty of outcome in litigation and avoidance of wasteful and expensive
10
     litigation that induce consensual settlements”).
11
12          Finally, the inherent risks of proceeding to trial weigh in favor of settlement. See In re
13
     Portal Software, Inc. Sec. Litig., 2007 U.S. Dist. LEXIS 88886, *7–8 (N.D. Cal. Nov. 26, 2007)
14
     (recognizing that “inherent risks of proceeding to… trial and appeal also support the
15
16   settlement”). In light of the substantial risks of continued litigation, the relief secured for the

17   Class by the proposed Settlement Agreement should be viewed as a fair, reasonable, and
18   adequate compromise of the issues in dispute.
19
                    3.      The Risks of Maintaining Class Action Status Through Trial Favor
20                          Final Approval
21          In addition to the risks discussed above, risks unique to the class action context also
22
     weigh strongly in favor of final approval. Plaintiffs may well be unable to maintain class status
23
     through trial, as plaintiffs bringing automotive defect actions are frequently denied class
24
25   certification due to lack of common proof. See, e.g., Grodzitsky v. Am. Honda Motor Co., 2014

26   U.S. Dist. LEXIS 24599 (C.D. Cal. Feb. 19, 2014) (denying certification due to lack of
27   evidence that common materials were used for all defective “window regulators” in the class);
28
     Edwards v. Ford Motor Co., 2012 U.S. Dist. LEXIS 81330, at *21–22 (S.D. Cal. June 12, 2012)
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     (denying certification because Plaintiffs failed to show that the sudden acceleration problem is
 1
 2   caused by a common design defect in the electronic throttle system); Cholakyan v. Mercedes-

 3   Benz USA, LLC, 281 F.R.D. 534, 553 (C.D. Cal. 2012) (“There is also no evidence that a single
 4
     design flaw that is common across all of the drains in question is responsible for the alleged
 5
     water leak defect…”). The inherent causation and proof challenges that plaintiffs must confront
 6
 7   in automotive defect cases may well spell doom for Plaintiffs here.

 8          There is also substantial risk that manageability issues could prevent class certification
 9   or require modification or decertification of the Class before trial. See, e.g., Marcus v. BMW of
10
     North America, 687 F.3d 583 (3rd Cir. 2011) (reversing certification of consumer class action
11
     case involving BMW vehicles equipped with allegedly defective run flat tires).
12
13          And aside from the above issues, Plaintiffs must also contend with “menacing

14   precedents” from the U.S. Supreme Court and the Ninth Circuit. See Laguna v. Coverall N. Am.,
15   753 F.3d 918, 925 (9th Cir. 2014) (approving class action settlement based in part, on the risks
16
     of continuing litigation in light of U.S. Supreme Court precedent raising further barriers to class
17
     certification). Had the case proceeded, Defendants would no doubt have argued that Comcast
18
19   Corp. v. Behrend, 133 S. Ct. 1426 (2013) requires plaintiffs to present a method for common

20   proof of damages before a class can be certified, a position that has been accepted by some
21
     courts. See, e.g., Forrand v. Fed. Express Corp., 2013 U.S. Dist. LEXIS 62252, at *7–8 (C.D.
22
     Cal. Apr. 25, 2013). This body of recent case law demonstrates that, had the case continued,
23
     “plaintiffs [would] face[] a substantial risk of incurring the expense of a trial without any
24
25   recovery.” In re Toys “R” Us FACTA Litig., 295 F.R.D. at 451.

26                  4.      The Stage of the Proceedings Favors Final Approval
27
            The court may evaluate the stage of the proceedings to determine if “the parties arrived
28

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     at a compromise based on a full understanding of the legal and factual issues surrounding the
 1
 2   case.” National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004)

 3   (citation omitted). A settlement negotiated at an earlier stage in litigation will not be denied so
 4
     long as sufficient investigation has been conducted. Eisen, 2014 WL 439006, at *4 (finding that
 5
     counsel had “ample information and opportunity to assess the strengths and weaknesses of their
 6
 7   claims” despite “discovery [being] limited because the parties decided to pursue settlement

 8   discussions early on”).
 9          Notwithstanding the fact that this case was mediated shortly after the Court’s decision
10
     on Defendants’ motion to dismiss, Class Counsel conducted a vigorous investigation that
11
     enabled them to obtain the information needed to evaluate the strengths and weaknesses of the
12
13   case and reach a reasoned determination as to the fairness of the proposed Settlement

14   Agreement. This was done through two tracks.
15          First, as part of their independent investigation, Class Counsel personally interviewed
16
     over two hundred Class Members; researched publicly available materials and information
17
     provided by the National Highway Traffic Safety Administration (“NHTSA”) concerning
18
19   consumer complaints about the Stalling Defect; reviewed and researched consumer complaints

20   and discussions of the Stalling Defect in articles and forums online; reviewed various manuals
21
     and technical service bulletins discussing the alleged Defect; and, conducted research into the
22
     various causes of actions. Greenstone Decl., ¶8.
23
            In addition, Plaintiffs propounded comprehensive sets of written discovery on
24
25   Defendants regarding, among other things: warranty data regarding stalling complaints of Class

26   Vehicles; customer relations records; Quality Information Reports regarding the Stalling Defect;
27
     owner’s manuals and warranty booklets for Class Vehicles; communications with suppliers of
28

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     alternators and throttle bodies for Class Vehicles; communications between Defendants’
 1
 2   employees regarding the Stalling Defect; communications between Defendants’ employees and

 3   third parties regarding the Stalling Defect; marketing brochures for Class Vehicles, FSE reports
 4
     regarding the Stalling Defect on Class Vehicles; and, sales information regarding the Class
 5
     Vehicles. Greenstone Decl., ¶9. In response, Defendants produced and Class Counsel reviewed
 6
 7   Quality Information Reports generated in connection with Defendants’ analysis of the Stalling

 8   Defect; warranty claims data; technical service bulletins; Class Vehicle manuals and brochures;
 9   consumer complaints; field service reports; and. other related information. Id.
10
            Class Counsel also consulted with a technical expert concerning the Stalling Defect, and
11
     flew from Los Angeles to the Bay Area for a vehicle inspection performed by Defendants and
12
13   observed by Class Counsel and Counsel’s expert. Greenstone Decl., ¶ 10.

14          In light of Class Counsel’s thorough independent investigation of the Stalling Defect
15   both pre-and post-filing, and formal discovery efforts, this factor also weighs in favor of final
16
     approval.
17
                    5.      The Experience and Views of Counsel Favor Final Approval
18
19          When counsel recommending approval of a settlement is competent and experienced,

20   their opinion should be given significant weight, since “parties represented by competent
21
     counsel are better positioned than courts to produce a settlement that fairly reflects each party’s
22
     expected outcome in the litigation.” In re Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir.
23
     1995); see also Kirkorian v. Borelli, 695 F. Supp. 446, 451 (N.D. Cal. 1988); Weinberger v.
24
25   Kendrick, 698 F.2d 61, 75–76 (2d Cir. 1982) (affording great weight to opinion of competent

26   and experienced counsel in favor of settlement approval).
27
            Here, Class Counsel were satisfied with the proposed Settlement Agreement only after
28

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     intensive independent investigation, followed by litigation and months of settlement
 1
 2   negotiations. Greenstone Decl., ¶13. Class Counsel has worked tirelessly to achieve the best

 3   possible result for the Class and believe that the Settlement Agreement is an excellent result.
 4
     Based on their experience and expertise, Class Counsel view the Settlement Agreement as fair,
 5
     adequate and reasonable. Id., ¶ 13.
 6
 7           Moreover, Class Counsel are seasoned class action attorneys with significant experience

 8   in consumer class actions, including automotive defect class actions. Greenstone Decl., ¶11.
 9   Likewise, Defendants’ counsel, Lewis Brisbois Bisgaard & Smith LLP, is a renowned defense
10
     firm with significant experience with automobile class actions. Id., ¶12. Thus, the parties’
11
     recommendation to approve this Settlement should “be given great weight.” Eisen, 2014 WL
12
13   439006, at *5 (crediting the experience and views of counsel and the involvement of a mediator

14   in approving a settlement resolving automotive defect allegations).
15                  6.      The Reaction of Class Members to the Settlement Favors Final
16                          Approval

17           Class Notice was mailed almost two months ago on November 21, 2016. Zielomski
18   Decl., ¶ 5. Thus far there has been only one objection. ECF 87.10 This single objection to date,
19
     in a class that includes over 77,000 vehicles and over 113,000 Class Members who were mailed
20
     a Class Notice is exceptional and also weighs strongly in favor of final approval. See National
21
22   Rural Tele. Coop., 221 F.R.D. at 529 (“It is established that the absence of a large number of

23   objections to a proposed class action settlement raises a strong presumption that the terms of a
24   proposed class settlement action are favorable to the class members.”); Garner v. State Farm
25
     Mut. Auto. Ins. Co., 2010 U.S. Dist. LEXIS 49477 (N.D. Cal. April 22, 2010) (“[T]he Court
26
     may appropriately infer that a class action settlement is fair, adequate, and reasonable when few
27
     10
28     Plaintiffs will respond to this objection, and any others that are filed, if any, by February 7,
     2017 per the Preliminary Approval Order. See Dkt. 82 at ¶ 15(g).
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     class members object to it.”) (internal quotation marks omitted); Sugarman v. Ducati, 2012 WL
 1
 2   113361, at *3 (N.D. Cal. 2012) (42 objections where 38,774 notices were sent out constituted a

 3   “positive response” to the settlement and “weigh[ed] strongly” in favor of its approval).
 4
              Only 66 Class Members have elected to opt out of the Settlement. Kizirian Decl., ¶ 3
 5
     and Exh. B. Thus far, 410 Claims Forma have been submitted, which the Settlement
 6
 7   Administrator is in the process of reviewing. Zielomski Decl., ¶ 7. Plaintiffs expect that

 8   additional claims will be submitted prior to the claims deadline of March 29, 2017 which is still
 9   several months away.
10
              D.     The Settlement Class Satisfies the Requirements of Rule 23
11
              In the Preliminary Approval Order, this Court provisionally certified the Class for
12
13   settlement purposes. Dkt. 82 at ¶3. In so doing, the Court made a preliminary determination

14   that the Class satisfies the requirements of Rule 23. See MANUAL FOR COMPLEX LITIG., §
15   21.632 (4th ed. 2004). Plaintiffs now submit that the Class may finally be certified for
16
     settlement purposes, as it continues to meet all the requirements of Rule 23(a) and at least one
17
     of the requirements of Rule 23(b).
18
19   IV.      CONCLUSION

20            For the foregoing reasons, Plaintiffs respectfully request that the Court grant final
21
     approval of the proposed Settlement Agreement.
22
     ///
23
     ///
24
25   ///

26   ///
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     ///
28

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     DATED: January 12, 2017            GLANCY PRONGAY & MURRAY LLP
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 1                       PROOF OF SERVICE BY ELECTRONIC POSTING
 2          I, the undersigned say:

 3          I am not a party to the above case, and am over eighteen years old. On January 12, 2017, I

 4 served true and correct copies of the foregoing document, by posting the document electronically to

 5 the ECF website of the United States District Court for the Northern District of California, for receipt

 6 electronically by the parties listed on the Court’s Service List.

 7          I affirm under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct. Executed on January 12, 2017, at Los Angeles, California.

 9

10                                                        s/ Mark S. Greenstone
                                                          Mark S. Greenstone
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         Mailing Information for a Case 4:14-cv-03612-CW Reniger et al v. Hyundai Motor America et
         al
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         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may
         wish to use your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.

          (No manual recipients)




1 of 2                                                                                                                                               1/12/2017 10:53 PM
